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             IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                            Case No.     CR415-131


LEON CARTER,


                 Defendant,




UNITED STATES OF AMERICA,


V.                                            Case No.     CR416-353


LAMETHEUS DOUGLAS,


                  Defendant,




UNITED STATES OF AMERICA,


V.                                            Case No.     CR417-90


MICHAEL ANDERSON,


                  Defendant.


UNITED STATES OF AMERICA,


V.                                             Case No.      CR417-217


HIPOLITO MARTINEZ-                                       U. S DISTRICT COURT
 MARTINEZ                                                 Southern District of Ga.
                  Defendant.                                   Filed in Office

                                                                  \c^\\s 20:a

                                                               Deputy Clerk
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